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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DISTRICT


BILLY HAROLD CRUDUP,                           )
                                               )
           Plaintiff,                          )
                                               )
      v.                                       )          No. 1:23-CV-00167 ACL
                                               )
BILL STANGE, et al.,                           )
                                               )
           Defendants.                         )

                          OPINION, MEMORANDUM AND ORDER

       This matter is before the Court upon the Missouri Department of Corrections’ ex parte

response to this Court’s Notice and Request for Waiver of Service dated August 1, 2024.

       Legal Counsel for the Department of Corrections indicated in correspondence to the Court

on August 1, 2024, that it was unable to waive service on behalf of defendants Pierce Yount and

Phillip Dobbs. These defendants are no longer employed by the Missouri Department of

Corrections. Counsel for the Missouri Department of Corrections, therefore, provided home

addresses for defendants Yount and Montgomery where they could be served. See ECF No. 39.

       The Court will direct the Clerk of Court to effectuate service of process on defendants

Yount and Montgomery at their home addresses through the United States Marshal’s Service,

using the address provided in docket number 39. Copies of the summons and return of summons

shall be filed under seal and ex parte.

       Accordingly,

       IT IS HEREBY ORDERED that the Clerk of Court shall effectuate service of process via

the United States Marshal’s Service upon defendants Pierce Yount and Phillip Dobbs at the

addresses provided in docket number 39.

       IT IS FURTHER ORDERED that copies of the summons and the return of summons

shall be filed under seal and ex parte.
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      IT IS FURTHER ORDERED that the Clerk shall update the docket to reflect the

following defendants’ proper names: Yulaunda Farmer and Emily Achter.

      Dated this 13th day of August, 2024.



                                                     HENRY EDWARD AUTREY
                                                  UNITED STATES DISTRICT JUDGE
